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     BEVERLY LAW
 2
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 3   Los Angeles CA 90010
     Telephone: (310) 552 6959
 4   Facsimile: (323) 421 9397
 5
     Attorney for Mike Kemel, Mariya Ayzenberg
 6
                              UNITED STATES BANKRUPTCY COURT
 7
 8                             CENTRAL DISTRICT OF CALIFORNIA

 9                              SAN FERNANDO VALLEY DIVISION
10   In re                                       )   Case No.: 1:20-bk-11006-VK
                                                 )
11                                               )
             LEV INVESTMENTS, LLC,               )   Chapter 11, subchapter V
12                                               )
                               Debtor.           )   EMERGENCY MOTION TO RECUSE
13                                               )   DAVID GOLUBCHIK AND THE LAW
                                                 )   FIRM OF LEVENE, NEALE, BENDER,
14                                               )
                                                 )   YOO & BRILL LLP, FROM ALL
15                                               )   FURTHER PARTICIPATION IN THIS
                                                 )   CASE, ALL RELATED CASES, AND FOR
16                                               )   AN ORDER DISGORGING ALL FUNDS
                                                 )
17                                               )   RECEIVED BY THE FIRM DUE TO
                                                 )   UNDISCLOSED CONFLICTED
18                                               )   REPRESENTATION OF THE DEBTOR IN
                                                 )   RE WEIBEL, INC. (9TH CIR. BAP 1994) 176
19                                               )   B.R. 209; DECLARATION OF MARIYA
                                                 )
20                                               )   AYZENBERG AND MIKE KEMEL;
                                                 )   MEMORANDUM OF POINTS AND
21                                               )   AUTHORITIES; EXHIBITS; OBJECTION
                                                 )   TO EMPLOYMENT DAVID GOLUBCHIK
22                                               )
                                                 )   AND THE LAW FIRM OF LEVENE,
23                                               )   NEALE, BENDER, YOO & BRILL LLP
                                                 )   [DOC 10, 11, 30] (SET TO BE HEARD ON
24                                               )   JULY 16, 2020, AT \1:30 P.M. BY THE
                                                 )   COURT)
25                                               )
                                                 )
26                                               )
                                                 )
27                                               )
                                                 )
28



                                                 1
     EMERGENCY MOTION TO RECUSE DAVID GOLUBCHIK AND THE LAW FIRM OF LEVENE, NEALE, BENDER,
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 1
              TO THE HON. VICTORIA KAUFMAN, UNITED STATES BANKRUPTCY COURT
 2
     JUDGE, AT THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL OTHER PARTIES
 3
     IN INTEREST
 4
              PLEASE TAKE NOTICE that Mike Kemel, Mariya Ayzenberg hereby move to disqualify
 5
     David Golubchik and the law firm of Levene, Neale, Bender, Yoo & Brill LLP, from all further participation in
 6
     the main bankruptcy proceeding and all of the related removed actions. They further objects to the employment of
 7
     David Golubchik and the law firm of Levene, Neale, Bender, Yoo & Brill LLP [DOC 10-11, 30]. They further
 8
     request that David Golubchik and the law firm of Levene, Neale, Bender, Yoo & Brill LLP be Ordered to
 9
     disgorge all funds entrusted to them in advance of their employment.
10
              This Emergency Motion has been necessitated by the fact that Mr. Golubchik has utilized information
11
     and data obtained from his Clients Mike Kemel and Mariya Ayzenberg in confidence as their lawyer and
12
     utilized that information to the benefit of the Debtor and the Debtor in possession Mr. Lioudkovski.
13
              This Motion was not filed earlier as the parties were engaged in a global settlement discussion
14
     that should have led to all creditors being paid in full and all disputes put to a rest; settlement was
15
     essentially achieved on June 25, 2020. However, Mr. Golubchik took aim at a friend of Mr. Kemel (Mr.
16
     Moda) (in of all pleadings, in a pleading to obstruct the 2004 exam of Nikita Lyudkovskiy, the son of
17
     the DIP, Mr. Lioudkovski) and displayed conduct that was not one in keeping with a person who is
18
     earnestly seeking to quall disputes, but rather in one who is aching for warfare. DOC 53
19
              Mr. Moda has never been a shadowy figure and he examined the Debtor at the 341-Meeting. Mr.
20
     Moda’s examination of the Debtor at the 341-Meeting was pointed and quite uncomfortable for the DIP.
21
              For instance, while the US Trustee had asked the DIP if DIP had any employees, the DIP
22
     responded “no” and the Trustee moved on. When it came to Mr. Moda, he delved into the gaps that the
23
     US Trustee had not asked 1. While the Trustee had asked questions about employees, Mr. Moda asked
24
     about “Independent Contractors” that the Debtor / DIP had paid in the past 180-days. To which the
25
     Debtor / DIP responded in Russian: “I wasn’t ready for that.”
26
27
28   1
      Maybe for no other reason than no one’s patience is endless. The US Trustee was by all accounts the most remarkably
     patient examiner; displaying humanity and giving the DIP the benefit of doubt when others would have been without any
     doubt)

                                                                 2
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 1
              Mr. Moda was given latitude by the Trustee to examine the DIP and Mr. Moda utilized that time
 2
     most effectively. Mr. Moda cornered the DIP into admitting that there were four investors in the Albers
 3
     Property and that Ms. Ayzenberg was one of them.
 4
              Mr. Golubchik attended the 341-meeting and plainly understood what Mr. Moda had
 5
     accomplished (while the fact was lost to all others attending the 341-Meeting as none of them knew that
 6
     Mr. Golubchik was simultaneously representing Ms. Ayzenberg and Mr. Kemel). Mr. Moda had quite
 7
     literally obtained an admission from the DIP that irrefutably cemented Mr. Golubchik’ s disqualification
 8
     based on his irremediable conflict.
 9
              From that day forward, Mr. Golubchik had taken petty shots at Mr. Moda. Mr. Golubchik had failed to
10
     appreciate that Mr. Moda does not ghost anything. If any Court is aware of the fact that Mr. Moda is bold (and at
11
     times uncomfortably abrasive at times), undoubtedly assertive and quite able to communicate his thoughts to a
12
     Court, it is this Court.
13
              The amateurish shots taken at Mr. Moda did not faze Mr. Moda. The Debtor is in need of a
14
     release from Mr. Moda as Mr. Moda possess priority claim against the Estate for acts that have bettered
15
     the Estate to the detriment of its insiders and the DIP. When asked how much he wanted to be paid to
16
     provide the release requested of him, he selflessly and out of loyalty to Mr. Kemel, FR, Ms. Ayzenberg,
17
     Mr. Sands, and Ms. Lisitsa said he did not want anything and that he would provide the release and walk
18
     away uncompensated for all the work that he had done and for arranging the monetary transaction
19
     leading to the purchase of the Note for Albers.
20
              On June 25, 2020, FR too agreed to a walkaway and accepting the $119,000.00 that it advanced
21
     toward the purchase of the Note on Albers.
22
              However, all that changed when Mr. Golubchik disemboweled the nearly done deal on June 26, 2020.
23
              Reciprocating the conduct of Mr. Golubchik, FR provided a window of 30 minutes to have its offer of
24
     $119,000 raised to $169,000.00 in order to settle the matter; that time period expired at 4:30 p.m. on June 26,
25
     2020.
26
              FR thus withdrew from all settlement talks and will seek to have the Court abstain from the removed
27
     action in preference for the state actions that have been pending since 2019 between the parties.
28
              When the prospect of resolution disintegrated, Ms. Ayzenberg and Mr. Kemel knew that they would have


                                                              3
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 1
     to defend against their own strategies that they had disclosed to Mr. Golubchik as his Clients. They have
 2
     immediately moved to recuse Mr. Golubchik from further participation in these proceedings. Ms. Ayzenberg and
 3
     Mr. Kemel know that Mr. Golubchik must be disqualified as the adversarial system would not be fair to them
 4
     when the Debtors Quarterback has listened to all of their huddles.
 5
 6
                                                              Respectfully submitted,
 7
     DATED: June 26, 2020
 8
 9
10                                                     By: _________________________________________
                                                             Michael Shemtoub, Esq.
11                                                           Attorney for Mr. Kemel and Ms. Ayzenberg
12
13
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                                                             4
     EMERGENCY MOTION TO RECUSE DAVID GOLUBCHIK AND THE LAW FIRM OF LEVENE, NEALE, BENDER,
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 1
                            MEMORANDUM OF POINTS AND AUTHORITIES
 2
                                           STATEMENT OF FACTS
 3
            Ms. Ayzenberg and Mr. Kemel are the Clients of Mr. Golubchik.
 4
            Mr. Golubchik knew that the irremediable conflict between he and Mr. Kemel and his
 5
     representation of the Debtor and the DIP would be exposed if he removed the Coachella Valley
 6
     Vineyard Luxury RV Park LLC v. Lev Properties, LLC, Dimitri Lioudkovski, Real Property Trustees
 7
     Incorporated Case No. PSC200222 (PSC200222) and the Lev Investments, LLC v. Ruvin Fygenberg et
 8
     al and related cross action of Fygenberg v. Lev Properties, LLC, Dimitri Lioudkovski, Real Property
 9
     Trustees Incorporated Case No. 19VECV00878, actions to this Court.
10
11          Mr. Golubchik abdicated his duty of candor owed to the Court and instead let the two cases
12   remain in State Court and did not advise the Court of his actions.
13          Conversely, Mr. Golubchik cheekily removed the Ayzenberg v. Lev Properties, LLC LASC Case
14   No. 19STCV38222 matter to this Court, because he could not leave the case in State Court (though the
15   case has been settled and dismissed) because that was the only way he could remove the FR, LLC v. Lev
16   Properties, LLC LASC 19STCV45132 action as the cases were ordered related and ordered joined by
17   Judge Recana on January 16, 2020. See Ex. E
18
            For personal gain and to cloak his conflicted representation of the Debtor, Mr. Golubchik split
19
     mother from son presidentially like the Trump Administration.
20
21                                                ARGUMENT

22       MR. GOLUBCHIK SERVED AND IS SERVING TWO MASTERS WITH COMPETING

23            INTERESTS IN THE SAME CASE IN DEROGATION OF THE DISCLOSURE

24       REQUIREMENTS MANDATED BY THE BANKRUPTCY CODE AND IN COMPLETE

25              OBLIVION TO THE DUTIES THAT HE OWES HIS ORIGINAL CLIENTS

26          Mr. Golubchik owes an unrevoked and unwaived duty to abstain from participating in this

27   Action that pits one of his Clients against another one. The fact that Ms. Ayzenberg and Mr. Kemel

28   retained and paid Mr. Golubchik for his skills is undisputed.



                                                         5
     EMERGENCY MOTION TO RECUSE DAVID GOLUBCHIK AND THE LAW FIRM OF LEVENE, NEALE, BENDER,
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 1
            The fact that Ms. Ayzenberg and Mr. Kemel confided in Mr. Golubchik and shared with him
 2
     secrets and thoughts and strategies is equally undisputed.
 3
            The fact that the property that is central to this case (Albers) was discussed and a topic covered
 4
     by the attorney–client privilege between Ms. Ayzenberg, Mr. Kemel and Ms. Lisitsa with Mr.
 5
     Golubchik before any dispute arose between the parties is equally undisputed. Attached as Exhibit G,
 6
     is an email from Ms. Lisitsa to Mr. Golubchik dated September 18, 2018, with a link.
 7
     https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-
 8
     polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5
 9
10          The link leads to a massive article on an Armenian Crime Lord being prosecuted in Utah by the

11   United States Department of Justice (DOJ). See Ex. H. The attorney for the Crime Lord is / was Mr.
12   Edger Sargsyan, Esq. (SBN 308998). Mr. Sargsyan stole millions from his boss, Mr. Dermen. Mr.
13   Sargsyan bought Albers with Mr. Dermen’s money.
14          Two forces both competed to put an end to Mr. Sargsyan’s’ life of crime; his former boss and the
15   DOJ. The DOJ prevailed and Mr. Sargsyan became an informant for the DOJ and exposed not only his
16   former bosses’ holdings, but also agents within the FBI and ICE.
17
            It was based on advice that Mr. Golubchik gave to Mr. Kemel and Ms. Ayzenberg regarding
18
     methodology and security perfection that led to the investment that Ms. Ayzenberg made in the purchase
19
     of the Note for Albers.
20
21          These facts should have been disclosed to the Court in Mr. Golubchik’ s employment application

22   and were not. The lack of disclosure is uncontestably the exact same as a fraudulent disclosure. The lack

23   of disclosure coupled with the fact that Mr. Golubchik has abridged his duty as an attorney to all of the

24   parties involved in this case renders him hopelessly unqualified to proceed in this Action in any

25   capacity.

26          “Pursuant to § 327, a professional has a duty to make full, candid and complete disclosure of all
27   facts concerning his transactions with the debtor. Professionals must disclose all connections with the
28   debtor, creditors and parties in interest, no matter how irrelevant or trivial those connections may



                                                         6
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 1
     seem. The disclosure rules are not discretionary. Mehdipour v. Marcus & Millichap (In re
 2
     Mehdipour), 202 B.R. 474, 480 (9th Cir. BAP 1996)” Movitz v. Baker (In re Triple Star Welding, Inc.)
 3
     (Bankr.9th Cir. 2005) 324 B.R. 778, 789.
 4
            Mr. Golubchik not only failed to disclose facts to the Court, he proceeded to act in derogation of
 5
     his sworn oath of allegiance and confidentiality as an attorney and must be disqualified immediately.
 6
 7        MR. GOLUBCHIK IS IRREMEDIABLY CONFLICTED AND CANNOT CONTINUED

 8   REPRESENTATION OF ANY ENTITY IN THIS ACTION AND ALL OTHERS RELATED TO

 9                                                         IT
10          LBR 2090-2(a) provides: “An attorney who appears for any purpose in this court is
11   subject to the standards of professional conduct set forth in Local Civil Rule 83-3.”
12
            LFRCP 83-3.1.2 in turn provides: “In order to maintain the effective administration of justice
13
     and the integrity of the Court, each attorney shall be familiar with and comply with the standards of
14
     professional conduct required of members of the State Bar of California and contained in the State Bar
15
     Act, the Rules of Professional Conduct of the State Bar of California, and the decisions of any court
16
     applicable thereto. These statutes, rules and decisions are hereby adopted as the standards of
17
     professional conduct, and any breach or violation thereof may be the basis for the imposition of
18
     discipline. The Model Rules of Professional Conduct of the American Bar Association may be
19
     considered as guidance.”
20
21          At best, Mr. Golubchik has dropped his former Clients (Ms. Ayzenberg and Mr. Kemel) in

22   preference for representing the Debtor and the DIP. Realistically, Mr. Golubchik is representing the

23   Debtor, the DIP, Ms. Ayzenberg and Mr. Kemel simultaneously on the same subject matter and nuclei

24   of facts and issues.

25          Taking the more restrictive approach, Mr. Golubchik is representing a current client against a
26   former client. While general practitioners may on one day represent a client on a slip and fall matter and
27   the next day represent another in a homeowner’s issue matter, the likes of Mr. Golubchik cannot. His
28   practice is laser like and it is all bankruptcy law and issues.



                                                            7
     EMERGENCY MOTION TO RECUSE DAVID GOLUBCHIK AND THE LAW FIRM OF LEVENE, NEALE, BENDER,
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 1
            Mr. Golubchik admits as much in the Retainer Agreement. See Ex. B
 2
            Mr. Golubchik cannot escape the fact that he is re-immediately conflicted and unfit to participate
 3
     in these proceedings in any capacity. Successive representation of clients is strictly prohibited absent
 4
     informed client consents. Representation of a client whose interests are averse to a former client is
 5
     permitted with the former client's “informed written consent.” Ca Professional Conduct Rule 1.7; City &
 6
     County of San Francisco v. Cobra Solutions, Inc. (2006) 38 Cal.4th 839, 847, 43 Cal. Rptr.3d 771, 776
 7
 8          Mr. Golubchik was duty bound to obtain the permissions of both Ms. Ayzenberg and Mr. Kemel

 9   even if Ms. Ayzenberg and Mr. Kemel are categorized as “former” rather than “current” Clients. A
10   former client must agree in writing to the representation following counsel's full written disclosure of the
11   “relevant circumstances” and the “actual and reasonably foreseeable adverse consequences to the. ..
12   former client.” Ca Professional Conduct Rule 1.7(b).
13          Mr. Golubchik would be disqualified even if he had written consent. Despite the clients'
14   purported “informed written consents,” an attorney may not accept or continue representation of a client
15   in a matter where the representation would result in violation of the Ca Professional Conduct Rule or
16   State Bar Act. Ca Professional Conduct Rule 1.16
17
            Absent client consent, a lawyer may not “accept employment adverse to the client or former
18
     client where, by reason of the representation of the client or former client, the member has obtained
19
     confidential information material to the employment” Ca Professional Conduct Rule 1.7 H.F. Ahmanson
20
     & Co. v. Salomon Bros., Inc. (1991) 229 Cal. App.3d 1445, 1459, 280 Cal. Rptr. 614, 622; Beltran v.
21
     Avon Products, Inc. (C.D. Cal. 2012) 867 F. Supp. 2d 1068, 1077; Los Angeles Bar Ass’n Form. Opn.
22
     501 (1999).
23
24          The fiduciary duties of loyalty and confidentiality continue even after the representation ends. A

25   lawyer may not do anything that will injuriously affect a former client. Nor may the lawyer use or

26   disclose the former client's confidential information to the former client's disadvantage. People ex rel.

27   Deukmejian v. Brown (1981) 29 Cal.3d 150, 155, 172 Cal. Rptr. 478, 480; Wutchumna Water Co. v.

28   Bailey (1932) 216 Cal. 564, 571, > 15 P.2d 505, 508; see Oasis West Realty, LLC v. Goldman (2011) 51
     Cal.4th 811, 821-823, 124 Cal. Rptr.3d 256, 263-265.

                                                          8
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 1
             Mr. Golubchik is engaging in exactly the conduct that the Rules of Prof conduct proscribe.
 2
     Successive representation conflicts results in attorney disqualification where any of the following
 3
     elements are satisfied:· the lawyer's current representation is against a former or current client; · the
 4
     lawyer's current representation is adverse to the current or former client; · the lawyer obtained
 5
     confidential information while representing the former client; · the confidential information is material
 6
     to the current representation.
 7
             Subject matter of the representation customarily is the key factor in disqualifying a lawyer from
 8
     representation of a later client against a former. Mr. Golubchik practices only one subject: bankruptcy.
 9
     Mr. Golubchik cannot deny that he does anything else but bankruptcy law. Mr. Golubchik cannot escape
10
     the fact that he is representing the Debtor and the DIP against another set of Clients: Ms. Ayzenberg and
11
     Mr. Kemel. Mr. Golubchik is thus doomed as a representative in this Action and all those related to him
12
     and he must be removed on an exigent basis. If the same “subject matter” is shown to be involved, the
13
     length of time since the former representation is irrelevant. Brand v. 20th Century Ins. Co./21st Century
14
     Ins. Co. (2004) 124 Cal. App.4th 594, 607, 21 Cal. Rptr.3d 380, 387—(subject matter was insurance
15
     claims and representation of one against the other was 13-years spaced).
16
17           The prohibition is in the disjunctive: the attorney may not use information or do anything which
18   will injuriously affect his former client. People ex rel. Deukmejian v. Brown (1981) 29 Cal. 3d 150, 155,
19   172 Cal. Rptr. 478, 624 P.2d 1206, quoting Wutchumna Water Co. v. Bailey (1932) 216 Cal. 564, 573-
20   574, 15 P.2d 505.
21           Mr. Golubchik is irremediably conflicted and must be removed from further representing any
22   entity in this Action and all those related to it.
23
                                                     CONCLUSION
24
             Mr. Golubchik must be removed from further representation of any party in this case and be
25
     immediately declared disqualified.
26
             Mr. Golubchik has wandered out loud why Mr. Sands has exhibited an extreme attitude toward
27
     litigating this case and has rather paltry claim. The reason for Mr. Sands apparent distaste for this case
28
     and its participants need no longer be shielded. Mr. Sands is a man engrained with honor, self-sacrifice,


                                                           9
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 1
     allegiance to his oaths, and scrupulously obedient to his contracts and observant of his obligations. Mr.
 2
     Sands core fibers were ablaze watching Mr. Golubchik flaunt the sacred oath that all lawyers take to
 3
     adhering to the obligations imposed by the profession of law.
 4
            Mr. Sands had from beginning of June 2020 implored on Mr. Kemel to sue Mr. Golubchik for
 5
     the radical breaches of loyalty that Mr. Golubchik was engaging in. Breaches that are physically painful
 6
     for the elder Ms. Ayzenberg to bear.
 7
            It is readily apparent to the undersigned that the ties that have grounded Mr. Sands and upset him
 8
     so will no longer restrain him. It is the undersigned’s firm belief that Mr. Golubchik will find himself on
 9
     the defense side of a malpractice and breach of fiduciary duty complaint where Ms. Ayzenberg will seek
10
     to personally impose on Mr. Golubchik the costs that he has visited on her and seek redress for the pain
11
     and suffering and mental anguish that he, her lawyer, has viciously practiced on her.
12
            Other attorneys of the Debtor and the DIP are abandoning him. See Ex. I. The difference
13
     between Mr. Fenton and Mr. Golubchik is that Mr. Fenton has already seen the approaching iceberg and
14
     Mr. Golubchik soon will too, but only when it is too late for him to avoid the catastrophe that awaits
15
     him.
16
17
                                                   Respectfully submitted,
18
     DATED: June 26, 2020
19
20
21                                                  By: _________________________________________
                                                          Michael Shemtoub, Esq.
22                                                        Attorney for Mr. Kemel and Ms. Ayzenberg
23
24
25
26
27
28



                                                         10
     EMERGENCY MOTION TO RECUSE DAVID GOLUBCHIK AND THE LAW FIRM OF LEVENE, NEALE, BENDER,
         YOO & BRILL LLP, FROM ALL FURTHER PARTICIPATION IN THIS CASE, ALL RELATED CASES
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 4929
Wilshire Blvd, Suite 702, Los Angeles, CA 90010

A true and correct copy of the foregoing document entitled (specify): EMERGENCY MOTION TO RECUSE DAVID
GOLUBCHIK AND THE LAW FIRM OF LEVENE, NEALE, BENDER, YOO & BRILL LLP, FROM ALL FURTHER
PARTICIPATION IN THIS CASE, ALL RELATED CASES, AND FOR AN ORDER DISGORGING ALL FUNDS
RECEIVED BY THE FIRM DUE TO UNDISCLOSED CONFLICTED REPRESENTATION OF THE DEBTOR IN RE
WEIBEL, INC. (9TH CIR. BAP 1994) 176 B.R. 209; DECLARATION OF MARIYA AYZENBERG AND MIKE KEMEL;
MEMORANDUM OF POINTS AND AUTHORITIES; EXHIBITS; OBJECTION TO EMPLOYMENT DAVID GOLUBCHIK
AND THE LAW FIRM OF LEVENE, NEALE, BENDER, YOO & BRILL LLP [DOC 10, 11, 30] (SET TO BE HEARD ON
JULY 16, 2020, AT 1:30 P.M. BY THE COURT) will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 6-
26-2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Katherine Bunker kate.bunker@usdoj.gov
  John Burgee jburgee@bandalaw.net
  Caroline Renee Djang (TR) caroline.djang@bbklaw.com,
C190@ecfcbis.com;sansanee.wells@bbklaw.com;wilma.escalante@bbklaw.com
  David B Golubchik dbg@lnbyb.com, stephanie@lnbyb.com
  Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
  Thomas D Sands thomas@thesandslawgroup.com, thomas@thesandslawgroup.com
  David A Tilem davidtilem@tilemlaw.com,
DavidTilem@ecf.inforuptcy.com;joanfidelson@tilemlaw.com;JoanFidelson@ecf.inforuptcy.com;
DianaChau@tilemlaw.com
  United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
                                                                      X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 6-26-2020 I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.
                                                                        X Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 06/25/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Hon. Victoria S. Kaufman
United States Bankruptcy Court
21041 Burbank Boulevard, Suite 354 / Courtroom 301
Woodland Hills, CA 91367
                                                                        X Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  6-26-2020                        Michael Shemtoub, Esq.
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                 Case 1:20-bk-11006-VK              Doc
                                                      . 0. 56     FiledMIC06/26/20
                                                           Box 826880
                                                      Bankruptcy GroupCOUNTY
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                                                                                        Entered 06/26/20 23:47:07 Desc
0973-1                                               (p)
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                                                             ANGELES         TREASURER
                                                                                PageAND12TAXofCOLLE
                                                                                                67   Franchise Tax Board
Case 1:20-bk-11006-VK                                ATTN BANKRUPTCY UNIT                            Bankruptcy Section MS: A-340
Central District of California                       PO BOX 54110                                    P. 0. Box 2952
San Fernando Valley                                  LOS ANGELES CA 90054-0110                       Sacramento, CA 95812-2952
Tue Jun 16 14:06:24 PDT 2020
Internal Revenue Service
PO Box 7346                                                                                              Lev Invesbnents, LLC
Philadelphia, PA 19101-7346                                                                              13854 Albers Street
                                                                                                         Sherman Oaks, CA 91401-5811


(p)OFFICE OF FINANCE CITY OF LOS ANGELES
200 N SPRING ST RM 101 CITY HALL                     Securities & Exchange CoDDDission                   San Fernando Valley Division
LOS ANGELES CA 90012-3224                            444 South Flower St., Suite 900                     21041 Burbank Blvd,
                                                     Los Angeles, CA 90071-2934                          Woodland Hills, CA 91367-6606


FR, LLC
c/o Michael Shemtoub, Esq.                           Franchise Tax Board                                 G&B Law, LLP
4929 Wilshire Blvd., suite 702                       Special Procedures                                  Attn: James R. Felton
Los Angeles, CA 90010-3824                           POB 2952                                            16000 Ventura Blvd., suite 1000
                                                     Sacramento, CA 95812-2952                           Encino, CA 91436-2762

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS                    Jeff Nodd, Esq.                                     LDI Ventures, LLC
PO BOX 7346                                          15250 Ventura Blvd                                  423 N Palm dr
PHILADELPHIA PA 19101-7346                           Encino, CA 91403-3201                               Beverly Hills, CA 90210-3974


Landmark Land, LLC
Attn Alex Polovinchik                               Michael Leizerovitz                                  Michael Masinovsky
860 Via De La Paz, suite E-1                        15 Via Monarca St.                                   21810 Eaton Place
Pacific Palisades, CA 90272-3668                    Dana Point, CA 92629-4082                            Cupertino, CA 95014-1182


Ming Zhou
Thomas Krantz, Esq.                                 (p)REAL PROPERTY TRUSTEE INC                         Sensible Consulting & Mgmt Inc
2082 Michelson Drive, Suite 212                     ATTN MIKE KEMEL                                      c/o John Burgee Esq.
Irvine, CA 92612-1213                               PO BOX 17064                                         20501 Ventura Boulevard, Suite 262
                                                    BEVERLY HILLS CA 90209-3064                          Woodland Hills, CA 91364-6410

Thomas Sands, Esq.
The Sands Law Group, APLC                            U.S. Trustee San Fernando Valley                    United States Trustee (SV)
205 South Broadway, Suite 903                        915 Wilshire Blvd.                                  915 Wilshire Blvd, Suite 1850
Los Angeles, CA 9 0012-3618                          Suite 1850                                          Los Angeles, CA 90017-3560
                                                     Los Angeles, CA 90017-3560

Caroline Renee Djang (TR)
18101 Von Karman Ave., Suite 1000                    David B Golubchik                                   Juliet Y Oh
Irvine, CA 92612-0164                                Levene Neale Bender Yoo & Brill LLP                 10250 Constellation Blvd Ste 1700
                                                     10250 Constellation Blvd Ste 1700                   Los Angeles, CA 90067-6253
                                                     Los Angeles, CA 90067-6253




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                  Case 1:20-bk-11006-VK              Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07 Desc
Bankruptcy Unit                                      Main Document    Page 13 of 67
P.O. Box 54110                                                                          Insolvency I Stop 5022
Los An geles, CA 90051-0110                                                             300 N. Los Angeles St., #4062
                                                                                        Los Angeles, CA 90012-9903

 (d)Los Angeles County Tax Collector
P.O. Box 54018                                       Real Property Trustee, Inc.
Los An geles, CA 90054-0018                          P.O. Box 17064
                                                     Beverly Hills, CA 90209




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                      End of Label Matrix
                                                     Mailable recipients    26
                                                     Bypassed recipients     1
                                                     Total                  27
Case 1:20-bk-11006-VK   Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07   Desc
                        Main Document    Page 14 of 67




         DECLARATION
     Case 1:20-bk-11006-VK               Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07                     Desc
                                         Main Document    Page 15 of 67



                                   DECLARATION OF MARIYA AYZENBERG
 2              I, Mariya Ayzenberg, declare:
 3              1.       I am the former client of David B. Golubchik Esquire and the law firm of
 4    Levene,        eale Bender, Yoo & Brill LLP the ("firm'), and they both are suing me in the
 s    adversary complaint styled Ayzenberg v. Lev Investments, l :20-ap-0 l 062-VK, and as such          1

 6    personally know of the facts stated herein. If called on to do so I could and would testify to the
 7    same.
 8            2.         I make this Declaration because I do not want my former attorney who advised
 9    and counseled me regarding the purchase of the property (13854 Albers Street) whom I
10    discussed my investment strategy about the same property with and who gave me rather
11    astonishing advice (given all that has happened) now being part of the team that tried to rob me.
12            3.         Mr. Golubchik and his firm also represented my interest in a case called in re
13    Kam/eshwar Upadhya, 2: 19-bk-J 2043-VZ. David B. Golubchik was my attorney and now he is
14    trying to damage me! He removed to this Cou11 my settled action with the thief Lioudkovski,
IS    and he is forcing me to incur more legal fees because I told him how [ deal with litigation.
16            4.         Mr. Golubchik learned facts, personal confidential, private information, and like
17    a judo-master uti Iizes that information to turn my world upside down!
18            5.         Mr. Golubchik not had only access to the cases that he litigated but also has
19
      access to other confidential data, which include my finances and lending practices.
20            6.         1 asked   for strategy, gu idance, techniques, and advice on handling my other legal
21
      concerns and outstanding debts owed and though he gave me woeful advice, he nevertheless
22
      possesses data of mine that he is now utilizing to benefit another of his clients at my direct
23
      expense! It is easy to guess what the other side will do when the other side quarterback has been
24
      listening to my huddle! Why else remove an already settled case with the Crook Lioudkovski to
25
      the bankruptcy court months after I gave up on making the money I had intended on making
26
      when I gave that Crook Lioudkovski my money?!
27            7.         I also asked for tax consequences and concerns if the debts are not repaid or lost
28
     and now I feel he has probably shared my data with that Crook Lioudkovski.



                                                      - I-
                                        DECLARATIO OF MARIYA AYZE BERG
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             8.      Mr. Golubchik and his firm vacuum cleaned my chest of private matters and have
 2    now apparently are selling my data to the highest and dirtiest bidder.
 3           9.      1f Mr. Golubchik does not immediately recuse himself from further representation

 4   of Crook Lioudkovski and his set of firebrand thief companies, I will file a complaint against
 5    him with the State Bar of California.
 6           10.     If Mr. Golubchik does not immediately recuse himself from further representation
 7    of Crook Lioudkovski, I respectfully ask that the Court impose all remedies that it has to punish

 8    attorneys who betray their clients as Mr. Golubchik has betrayed me, on Mr. Golubchik.
 9           11.     I also had to pay a bankruptcy attorney $5000 to look over this notice of removal
10    and advise me. I want up $5000 paid by Mr. Golubchik.
11
             I declare under penalty of perjury that the foregoing is true and correct under the laws of
12
     the State of California and the United States.
13
             Executed on June 25, 2020, at Los Angeles, Californ ia.
14

15

16                                                             Mariya Ay
17

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                                                 -2-
                                  DECLARATION OF MARIYA A YZENBERG
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         DECLARATION
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 1                                DECLARATION OF MIKE KEMEL
 2           I, Mike Kemel, declare:
 3          1.      I am the former client of David B. Golubchik, Esquire and the law firm of
 4   Levene, Neale, Bender, Yoo & Brill LLP, hereinafter the firm, and they currently both are suing
 5   my mother in the adversary complaint styled Ayzenberg v. Lev Investments, 1:20-ap-01062-VK,
 6   and are planning to sue me in this case and as such I have personal knowledge of the facts stated
 7   herein. If called on to do so, I could and would testify to the same.
 8          2.      I am requesting that the Court immediately remove David B. Golubchik, Esquire
 9   and the law firm of Levene, Neale, Bender, Yoo & Brill LLP, from further representation of the
10   Debtor in this case.
11          3.      In or about March 2019, after the firm conducted a conflict’s check, I retained Mr.
12   Golubchik and the firm to represent the interests of my mother and I in re Kamleshwar Upadhya,
13   2:19-bk-12043-VZ.
14          4.      During this representation, I shared personal, confidential, private information
15   with Mr. Golubchik and candidly revealed every aspect of the business operations of ours (my
16   mother and I) that are currently being exploited for the benefit of Mr. Lioudkovski and Lev
17   Investments, LLC.
18          5.      Real Property Trustee, Inc., is my corporation. I discussed its operations, tactics,
19   strategies and trade secrets with Mr. Golubchik. There were a myriad of reasons why I did,
20   including the fact that I am in the business of foreclosing on real property throughout California
21   and the people / companies that I foreclose on customary and regularly utilize the bankruptcy
22   process as a last-ditch effort to evade foreclosure.
23          6.      Our (my mother and I) discussions with Mr. Golubchik occurred not years, but
24   months, prior to the recent conflicted interaction between Mr. Golubchik, Lev Investments, LLC
25   and Mr. Lioudkovski.
26          7.      Mr. Golubchik was readily aware of my business involvement with LDI Ventures
27   LLC, Lev Investments, LLC (the list of companies goes on and on) and Mr. Lioudkovski that has
28   existed for years now.



                                                 -1-
                                       DECLARATION OF MIKE KEMEL
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 1             8.    My disclosures to Mr. Golubchik about my involvement with Lev Investments,
 2   LLC and Mr. Lioudkovski were expressly made to Mr. Golubchik by me.
 3             9.    I attach hereto the Retainer Agreement that I signed with Mr. Golubchik on
 4   March 20, 2019, as Exhibit B, a true and correct copy, attached hereto and incorporated herein
 5   by reference.
 6             10.   In ¶6 of the Retainer Agreement, it states:
 7                   6. CONFLICT OF INTEREST. LNBYB’s employment shall be limited to
 8                   the representation of the Client, separate and distinct from Client’s
                     companies, agents, employees, family members and others. LNBYB cannot
 9
                     represent or advise others in connection with the matters for which it is
10                   being retained. Therefore, such parties as partnerships, corporations,
                     guarantors and affiliates, for example, should consider retaining separate
11
                     counsel to represent and provide such advice as may be necessary or
12                   appropriate from time to time.
13
                     Client has been advised that LNBYB, because of the specialized nature of
14                   its practice, may from time to time concurrently represent one client in a
15
                     particular case and the adversary of that client in an unrelated case. For
                     example, it is possible that LNBYB may have represented one or more of
16                   the parties with whom you ordinarily do business in the past or at present in
17                   connection with other matters. We have not undertaken an extensive review
                     of your business or financial affairs and thus we are not aware if this
18
                     pertains. Please be assured that, despite such potential conflicting
19                   representation, LNBYB strictly preserves all client confidences and
                     zealously pursues the interest of each client, including in those
20
                     circumstances in which LNBYB represents the adversary of an existing
21                   client. Client specifically waives any objections to any such present
22
                     concurrent representation.

23             11.   Nowhere in the Retainer Agreement do I or my mother waive any “unrelated
24   case” conflicts, much less directly conflicted case conflicts such as Mr. Golubchik has engaged
25   in this case.
26             12.   I have never been presented with a conflict waiver regarding representation of
27   Lev Investments, LLC and Mr. Lioudkovski by Mr. Golubchik and I would not agree to such a
28   waiver.



                                                 -2-
                                       DECLARATION OF MIKE KEMEL
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 1          13.     The money that went for the purchase of the Note of the Albers property from my
 2   mother came from the same bank account that Mr. Golubchik was paid from – the account of
 3   Akyem, LLC.
 4          14.     Akyem, LLC was incorporated by my mother in the State of Delaware on June
 5   23, 2015, and domesticated in California on December 2, 2019. See Exhibit C, a true and correct
 6   copy, attached hereto and incorporated herein by reference.
 7          15.     The domestication of Akyem, LLC, in December 2, 2019, was not coincidental to
 8   advice / recommendations of Mr. Golubchik to my mother and I.
 9          16.     Mr. Golubchik is aware of my litigation tactics, is aware of how I analyze
10   litigation; the formula that I utilize when faced with litigation and he obtained those secrets from
11   me when representing me and my mother.
12          17.     Mr. Golubchik’s conduct and the breach of the confidences reposed in him are
13   and have been intentional and deviant in this case.
14          18.     Mr. Golubchik, cognizant of the fact that the conflicts would be plain
15   intentionally did not remove from state court to this Court certain actions that clearly reveal that
16   he was ethically barred from representing the Debtor and the DIP in these proceedings that
17   involve me and my company and my mother. Those actions are as follows:
18          a.      Coachella Valley Vineyard Luxury RV Park LLC v. Lev Investments, LLC, Dmitri
19          Lioudkovski, Real Property Trustee, Inc. Nos. RIC1905065 & PSC200222; See Ex. F
20          b.      Lev Investments, LLC v. Ruvin Faygenberg et al and related cross action of
21          Faygenberg v. Lev Investments, LLC, Dmitri Lioudkovski, Real Property Trustee, Inc.
22          Case No. 19VECV00878. See Exhibit A, a true and correct copy, attached hereto and
23          incorporated herein by reference.
24          19.     Attached hereto as Exhibit D, is an email dated April 16, 2019 from Ms. Lisitsa
25   to Mr. Golubchik that had as an attachment the Revised Demand for Payoff that my mother
26   signed. Both the email and the attachment are in Exhibit D, a true and correct copy, attached
27   hereto and incorporated herein by reference.
28




                                                 -3-
                                       DECLARATION OF MIKE KEMEL
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              20.    l shared my ongoing iss ues and concerns with other debts and situations with non-

 2   judicial forec losures w hich were to percolate into bankruptcy cases.
 3            21.    I asked for strategy, guidance, techniques and advise on handling my legal
 4   concerns and outstanding non-judicial forec losure matters pending at the time.
 5            22.    I a lso asked for tax consequences and concerns if the debts are not repaid or lost.
 6            23.    Mr. Go lubchik and the firm were my confidants and know my deep persona l and
 7    business confidential information .
 8            24.    Now comes, Mr. Golubchik and the firm and bring an adversary proceeding
 9   against my mother for the facts and events which I confided to Mr. Go lubchik.
10            25.    They a lso come now and claim that they will prosecute me "re wrongful
11
      forec losure advise re Coache lla property." Doc I, page 40. The same events I confided and
12
      sought legal advice from Mr. Golubchik about are now being utilized to batter us.
13            26.    I am shocked and deeply disturbed that an attorney with whom I confided about
14
      my legal affairs now plans to sue me about the same and represents someone l have a confl ict
15    with.
16            27.    The fact that I ask that this Court disqualify Mr. Go lu bchik and hi s Firm from
17
      participating in this case shou ld not be understood as the on ly remedies that I will seek against
18
     Mr. Go lubchik. The conduct that has been on display by Mr. Golubchik warrants investigation
19
     and a referral to the State Bar of California and I ask that the Court make such a referral.
20
              Executed on June 26, 2020, at Los Angeles, Ca lifornia.
21
              I dec lare under penalty of perjury that the foregoing is true and correct under the laws of
22
     the State of Ca lifornia and the United States.
23

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                                                   -4-
                                        DECLARATION OF MIKE KEM EL
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           EXHIBIT “A”
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 1   Michael Shemtoub, Esq. SBN 253948
     BEVERLY LAW
 2   4929 Wilshire Boulevard, Suite 702
     Los Angeles, California 90010
 3   Telephone:    (310) 552-6921
 4   Facsimile:    (323) 421-9397

 5   Attorney for Real Property Trustee, Inc.
     and Mike Kemel
 6
 7
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                FOR THE COUNTY OF LOS ANGELES
 9
10                                NORTHWEST JUDICIAL DISTRICT

11   LEV INVESTMENTS, LLC,                    )       Case No.: 19VECV00878
                                              )
12                                            )
                  Plaintiff,                          NOTICE OF MOTION AND MOTION TO
                                              )
13                                            )       COMPEL THE DEPOSITIONS OF
           vs.                                )          1. RUVIN FEYGENBERG
14                                            )          2. MICHAEL LEIZEROVITZ;
     RUVIN FEYGENBERG; MICHAEL                )          3. SENSIBLE CONSULTING AND
15
     LEIZEROVITZ; SENSIBLE CONSULTING ))              MANAGEMENT, INC;
16   AND MANAGEMENT, INC.; MING ZHU, )                   4. REQUEST FOR SANCTIONS
     LLC; and DOES 1 through 100, inclusive,  )       AGAINST RUVIN FEYGENBERG;
17                                            )       MICHAEL LEIZEROVITZ; SENSIBLE
                  Defendants.                 )       CONSULTING AND MANAGEMENT,
18                                            )
     _____________________________________ )          INC, AND JOHN GERARD BURGEE,
19   RUVIN FEYGENBERG; MICHAEL                )       JOINTLY AND SEVERALLY IN THE
     LEIZEROVITZ; SENSIBLE CONSULTING )               AMOUNT OF $8,610.00, MEMORANDUM
20   AND MANAGEMENT, INC.                     )       OF POINTS AND AUTHORITIES;
                                              )       DECLARATION OF MICHAEL
21                                            )
                          Cross-Complainants, )       SHEMTOUB, ESQ., EXHIBITS
22                                            )
           vs.                                )       Date: TBD
23                                            )       Time: 8:30 a.m.
                                              )
24   LEV INVESTMENTS, LLC, DMITRI             )       Place: Department U at 6230 Sylmar Ave.,
     LIOUDKOVSKI (aka Dmitri Ludkovski),      )       Van Nuys, CA 91401
25   YEVGENIYA LISITSA (aka Y. GINA           )
     LISITSA), LISITSA LAW, INC., REAL        )
26   PROPERTY TRUSTEE, INC., MIKE             )       Complaint Filed:       June 20, 2019
                                              )
27   KEMEL, and ROES 1 to 50,                 )       Trial Date:            Not set
                                              )
28                        Cross-Defendants.   )
                                              )


                                                  ~1~
                                 Motion to Compel Deposition and Sanctions
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 1         TO CROSS-COMPLAINANTS RUVIN FEYGENBERG; MICHAEL
 2   LEIZEROVITZ; SENSIBLE CONSULTING AND MANAGEMENT, INC. AND
 3   ALL INTERESTED PARTIES:
 4         PLEASE TAKE NOTICE that on a date to be set by the Court, at 8:30 a.m.,
 5   or as soon as thereafter as the matter may be heard, in Department U of the above-
 6   entitled Court, at 6230 Sylmar Ave, Van Nuys, CA, 90401 Cross-Defendants Real
 7   Property Trustee, Inc. and Mike Kemel, (“Movant” or “Kemel” hereafter) will
 8   move this Court to compel the Depositions of (along with productions of
 9   documents) of these parties:
10      1. RUVIN FEYGENBERG
11      2. MICHAEL LEIZEROVITZ;
12      3. SENSIBLE CONSULTING AND MANAGEMENT, INC;
13      4. REQUEST FOR SANCTIONS AGAINST RUVIN FEYGENBERG;
14         MICHAEL LEIZEROVITZ; SENSIBLE CONSULTING AND
15         MANAGEMENT, INC, AND JOHN GERARD BURGEE, JOINTLY
16
           AND SEVERALLY IN THE AMOUNT OF $8,610.00.
17
           This Motion is brought under Code of Civil Procedure §§ 1987.1, 2020.240,
18
     2023.010, 2025.440, 2025.450, 2025.480, et seq because RUVIN
19
     FEYGENBERG, MICHAEL LEIZEROVITZ and SENSIBLE
20
     CONSULTING AND MANAGEMENT, INC failed to appear at their duly
21
     noticed depositions on June 1, 2020, and have resisted all efforts to secure their
22   testimony.
23
           This Motion is made upon the grounds that Cross-Defendants Real Property
24   Trustee, Inc. and Mike Kemel, provided RUVIN FEYGENBERG, MICHAEL
25   LEIZEROVITZ and SENSIBLE CONSULTING AND MANAGEMENT,
26   INC with a proper Notice of Deposition under Code of Civil Procedure
27   §§ 2025.220, 2025.250, 2025.510, 2025.6210 and 2020.510 and RUVIN
28   FEYGENBERG, MICHAEL LEIZEROVITZ and SENSIBLE


                                               ~2~
                              Motion to Compel Deposition and Sanctions
     Case 1:20-bk-11006-VK    Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07       Desc
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 1   CONSULTING AND MANAGEMENT, INC did not appear at their Deposition
 2   on June 1, 2020, and failed to produce documents requested of them.
 3         The Court must Order that RUVIN FEYGENBERG, MICHAEL
 4   LEIZEROVITZ and SENSIBLE CONSULTING AND MANAGEMENT,
 5   INC appear at a deposition within 10-days of adjudicating this Motion, Order
 6   them to produce the documents requested of them and to Order sanctions against
 7   them jointly and severally, along with their attorney John Gerard Burgee for
 8   $8,610.00 ($900 for stenographer (at $300 each), $60 for filing this Motion,

 9   $7,650.00 for the 17 hours of attorney time at $450 per hour (5.5-hours traveling

10   to and from Orange County to take the depositions) 11.5 hours preparing this
     Motion (8 hours), reviewing the Opposition (1 hour Est.) and preparing a reply (2
11
     hours Est.) and appearing at the hearing on the Motion (0.5hour Est.)).
12
           This Motion is based upon this Notice, the attached Memorandum of Points
13
     and Authorities, Declaration of Michael Shemtoub, Esq. and Exhibits, and upon
14
     such oral and documentary evidence as presented to the Court at the hearing.
15
                                                     Respectfully submitted,
16
     Dated: June 12, 2020                                   BEVERLY LAW
17
18
19                                                 By
                                                         Michael Shemtoub, Esq.
20                                                       Attorney for Real Property
21                                                       Trustee, Inc. and Mike Kemel
22
23
24
25
26
27
28


                                              ~3~
                             Motion to Compel Deposition and Sanctions
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         EXHIBIT “B”
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                                            LEVENE. N EALE. BENEntered
                                                               DER. YO O06/26/20     23:47:07
                                                                         & BR.I LL L.L.E                 Desc
                                    Main Document      Page 27 of 67          LAW OFFICES




                                                                           LNBY&B

                                               March 20, 2019




      Aykem, LLC
      Mike Kernel, Manager



               Re:     Engagement Agreement


       Dear Mr. Kernel:

       It is our practice and to our mutual benefit to have a written understanding setting forth




               This legal services agreement ("Agreement") is entered into by and between the
       Client and Levene, Neale, Bender, Yoo & Brill L.L.P. ("LNBYB").

                1.



                2.




               Because LNBYB 's practice is limited exclusively to matters of bankruptcy,
        insolvency and business reorganization, LNBYB will not be required to render
        substantive legal advice beyond those areas.



                                                                                                  .




DAVID B. GOLUBCHIK                    ATTORNEYATLAW •         EMA I L: D BG@ LNBYB.COM •   DtR.ECT:310.229.3393
10250 CO N STE LLATION BLVD .. STE 1700. LOS A N GELES , CA 90067 • TH: 310 .229. 1234 FAX: 310.229.1244 WWW.LN BYB.COM
Case 1:20-bk-11006-VK    Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07   Desc
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                                                           L N BY&B
 Aykem, LLC
 Mike Kernel , Manager
 March 20, 2019
 Page 2
Case 1:20-bk-11006-VK       Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07              Desc
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                                                                       LNBY&. B
  Aykem, LLC
  Mike Kemel , Manager
  March 20, 2019
  Page 3



          6.     CONFLICT OF INTEREST. LNBYB's employment shall be limited to
  the representation of the Client, separate and distinct from Client's companies, agents,
  employees, family members and others. LNBYB cannot represent or advise others in
  connection with the matters for which it is being retained. Therefore, such parties as
  partnerships, corporations, guarantors and affiliates, for example, should consider
  retaining separate counsel to represent and provide such advice as may be necessary or
  appropriate from time to time.

          Client has been advised that LNBYB, because of the specialized nature of its
  practice, may from time to time concmTently represent one client in a particular case and
  the adversary of that client in an unrelated case. For example, it is possible that LNBYB
  may have represented one or more of the parties with whom you ordinarily do business in
  the past or at present in connection with other matters. We have not undertaken an
  extensive review of your business or financial affairs and thus we are not aware if this
  pertains. Please be assured that, despite such potential conflicting representation ,
  LNBYB strictly preserves all client confidences and zealously pursues the interest of
  each client, including in those circumstances in which LNBYB represents the adversary
  of an existing client. Client specifically waives any objections to any such present
  concun-ent representation.
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  Aykem, LLC
  Mike Kernel , Manager
  March 20, 2019
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                                                                      LNBY&B
  Aykem, LLC
  Mike Kernel, Manager
  March 20, 2019
  Page 5

         If you are in agreement with the foregoing, please execute this Agreement in the
  space provided below and return it to me; if not, kindly contact us immediately.

                                      Very truly yours,

                                      LEVENE,NEALE,BENDER,YOO
                                          & BRILL L.L.P.



                                            /!3·1/f;/I/
                                                 ~/I!
                                            { I! ,
                                                    d-
                                      By:
                                              DAVID B. GOLUBCHIK, Partner


         You acknowledge that you have read and fully understood all of the tenns and
  conditions of this Agreement before you signed it. You acknowledge that you have had
  an opportunity to ask any questions and seek any clarification necessary to understand
  and approve this Agreement. You are entitled to and encouraged to seek the advice of
  independent counsel (at your own expense) if you have any questions or concerns
  regarding the terms of this Agreement. By executing below, you agree to all the tenns
  and conditions of this Agreement.

  THE FOREGOING IS APPROVED AND
  AGREED TO:




           Its Manager
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         EXHIBIT “C”
         Case 1:20-bk-11006-VK         Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07                                                           Desc
                                       Main Document    Page 33 of 67
                      Secretary of State                 LLC-5
                      Application to Register a Foreign Limited                                                          201934510124
                      Liability Company (LLC)


IMPORTANT - Read Instructions before completing this form.
                                                                                                                                   FILED~
Must be submitted with a current Certificate of Good Standing issued by the
                                                                                                                            Stcretary of State
government agency where the LLC was formed. See Instructions.                                                               State of Caflfomia
 Filing Fee      -    $70.00                                                                                                   DEC O2 2019 ~<)I
 Copy Fees -          First page $1.00; each attachment page $0.50;
                      Certification Fee - $5.00
 Note: Registered LLCs in California may have to pay minimum $800 tax to the                                        (j
 California Franchise Tax Board each year.        For more information, go
 to https://www.ftb.ca.gov.                                                                                  \ 't        This Space For Office Use Only
 1a. LLC Name (Enter the exact name of the LLC as listed on your attached Certificate of Good Standing.)


IAYKEM,LLC
 1b. California Alternate Name, If Required (See Instructions -Only enter an alternate name if the LLC name in 1a not available in California.)




 2. LLC History (See Instructions- Ensure that the formation date and jurisdiction match the attached Certificate of Good Standing.)
 a. Date LLC was formed in home Jurisdiction (MM/DDIYYYY)                   b. Jurisdiction (State, foreign country or place where this LLC is formed.)

           6    I     23 / 2015                                                                                           DE
 c. Authority Statement (Do not alter Authority
                                      Statement)
 This LLC currently has powers and privileges to conduct business in the state, foreign country or place entered in Item 2b.
 3. Business Addresses               (Enter the   complete business addresses.       Items 3a and 3b cannot be a     P.O. Box or gin care of' an individual or entity.}
 a. Street Address of Principal Executive Office - Do not enter a P.O. Box                City (no abbreviations)                             State      Zip Code

4923 Lindley Ave                                                                          Tarzana                                             CA         91356
 b. Street Address of Principal Office in California, If any - Do not ttnter a P.0. Box   City (no abbreviations)                             State      Zip Code

4923 Lindley Ave                                                                          Tarzana                                             CA         91356
 c. Mailing Address of Principal Executive Office, if different than item 3a              City (no abbreviations)                             State       Zip Code



 4. Service of Process             (Must provide either Individual   OR Corporation.)
      INDIVIDUAL - Complete Items 4a and 4b only. Must include agent's full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                         Middle Name                     Last Name                                  Suffix

Mariya                                                                                                                    Ayzenberg
 b. Street Address (if agent is not a corporation)- Do not enter a P.O. Box               City (no abbreviations)                             State       Zip Code

4923 Lindley Ave                                                                          Tarzana                                             CA         91356
      CORPORATION -Complete Item 4c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent's Name (if agent is a corporation) - Do not complete Item 4a or 4b




 5.   Read and Sign Below (See Instructions. Title not required.)
 By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized to sign
 on behalf of the foreign LLC.

  <JJ:4P-tv&~                                   ee_.
                                                                                                 Mariya Ayzenberg
                                                                                                  Type or Print Name
LLC-5 (REV 08/2019)                                                                                                                          2019 California Secretary of State
                                                                                                                                                              bizfile .sos.ca.gov
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                                          Delaware                                          Page 1

                                                      The First State


           I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

   DELAWARE, DO HEREBY CERTIFY "AYKEM, LLC" IS DULY FORMED UNDER THE

   LAWS OF THE STATE OF DELAWARE AND IS IN GOOD STANDING AND HAS A

   LEGAL EXISTENCE SO FAR AS THE RECORDS OF THIS OFFICE SHOW, AS OF

   THE TWELFTH DAY OF AUGUST, A.D. 2019.

          AND I DO HEREBY FURTHER CERTIFY THAT THE SAID "AYKEM, LLC" WAS

   FORMED ON THE TWENTY-THIRD DAY OF JUNE, A.D. 2015.

          AND I DO HEREBY FURTHER CERTIFY THAT THE ANNUAL TAXES HAVE BEEN

   PAID TO DATE.




 5772425 8300                                                                Authentication: 203389266
 SR# 20196454169                                                                        Date: 08-12-19
 You may verify this certificate online at corp.delaware.gov/authver.shtml



                                                                             201934510124.
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        EXHIBIT “D”
Case 1:20-bk-11006-VK                     Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07                                          Desc
                                          Main Document    Page 36 of 67




From: Gina Lisitsa
Sent: Tuesday, April 16, 2019 3:34 PM
To: Edith Figueroa <edith@maximoslending.com>; David B. Golubchik <DBG@lnbyb.com>; Colleen
Herman <colleen@emeraldescrow.com>
Cc: Kamleshwar Upadhya <ukamleshwar@gmail.com>; jerry maximos
<jmaximos@maximoslending.com>
Subject: RE: UPADHYA, KAMLESHWAR-3256 CAMINO DEL SUR LANCASTER

Please see attached.

Thank you,

Y. Gina Lisitsa, Esq.
gina@lisitsalaw.com

T: (310) 272-7766




               Notice: This message and any included attachments contain information that may be confidential and privileged. Unless you
are the addressee (or authorized to receive messages for the addressee), you may not use, copy, or disclose this message (or any
information contained in it) to anyone. If you have received this message in error, please advise the sender by reply e-mail and delete this
message. Nothing in this message should be interpreted as a digital or electronic signature that can be used to authenticate a contract or
other legal document. IRS Circular 230 Disclosure: In order to comply with requirements imposed by the Internal Revenue Service, we inform
you that any U.S. tax advice contained in this communication (including any attachments) is not intended to be used, and cannot be used, for
the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing, or recommending to another party any
transaction or matter addressed herein.


From: Edith Figueroa <edith@maximoslending.com>
Sent: Tuesday, April 16, 2019 3:09 PM
To: David B. Golubchik <DBG@lnbyb.com>; Colleen Herman <colleen@emeraldescrow.com>
Cc: Kamleshwar Upadhya <ukamleshwar@gmail.com>; jerry maximos
<jmaximos@maximoslending.com>; Gina Lisitsa <gina@lisitsalaw.com>
Subject: Re: UPADHYA, KAMLESHWAR-3256 CAMINO DEL SUR LANCASTER

Hello,

Following up on yesterdays request. We need a rush please on the sign demand and the original note
that will need to be surrendered to title at close of escrow.
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Edith Figueroa
Senior Loan Processor
200 S. Main St Suite #150
Corona, CA 92882
(p)951-667-4302
(f)951-667-7455
edith@maximoslending.com


On Mon, Apr 15, 2019 at 1:14 PM Edith Figueroa <edith@maximoslending.com> wrote:
Great, thank you for your help :)




Edith Figueroa
Senior Loan Processor
200 S. Main St Suite #150
Corona, CA 92882
(p)951-667-4302
(f)951-667-7455
edith@maximoslending.com


On Mon, Apr 15, 2019 at 1:10 PM David B. Golubchik <DBG@lnbyb.com> wrote:

Edith,


I’m copying Gina Lisitsa, counsel for the lender, with this email. She has the documents you seek and
will provide them to you.
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DAVID B. GOLUBCHIK, Esq.

LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.

10250 Constellation Blvd. | Suite 1700 | Los Angeles, CA 90067

Phone 310 229 1234 | Direct 310 229 3393 | Fax 310 229 1244

dbg@lnbyb.com | www.lnbyb.com




The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.




 Please consider the environment before printing this email



From: Edith Figueroa [mailto:edith@maximoslending.com]
Sent: Monday, April 15, 2019 12:52 PM
To: David B. Golubchik <DBG@lnbyb.com>
Cc: Kamleshwar Upadhya <ukamleshwar@gmail.com>; jerry maximos
<jmaximos@maximoslending.com>
Subject: UPADHYA, KAMLESHWAR-3256 CAMINO DEL SUR LANCASTER



Hello,



Please provide a copy of the signed demand with the new
copy of the unsigned demand. Also, do you have a copy of the original note? I have a copy of the note
but we'll need the original. It will need to be surrendered to title at close of escrow.
Case 1:20-bk-11006-VK       Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07   Desc
                            Main Document    Page 39 of 67




Edith Figueroa

Senior Loan Processor

200 S. Main St Suite #150

Corona, CA 92882

(p)951-667-4302

(f)951-667-7455

edith@maximoslending.com
      Case 1:20-bk-11006-VK            Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07                          Desc
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                                                                                                                4/10/2019


California TD Specialists




                                   REVISED DEMAND FOR PAYOFF
Borrower: KAMLESHWAR UPADHYA-Emerald Escrow, Inc. Fax# 951-737-0378

Property Address:           3256                    ., LANCASTER CA 93536
IMPORTANT NOTICE: ff YOU OR YOUR ACCOUNT ARE SUBJECT TO PENDING BANKRUPTCY PROCEEDINGS, OR lF
YOU RECEIVED A BANKRUPTCY DISCHARGE ON THIS DEBT. THIS STATEMENT IS FOR INFORMATIONAL PURPOSES
ONLY AND JS NOT AN ATTEMPT TO COLLECT A DEBT. IF YOU ARE NOT TN BANKRUPTCY OR DISCHARGED OF THIS
DEBT, BE ADVISED THAT CALIFORNIA TD SPECIALISTS rs A DEBT COLLECTOR AND IS ATTEMPTING TO COLLECT
A DEBT ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

The amount to pay off the above referenced loan as of             as follows:
                                              Interest lnformation
    From       Through       Payment Amount , Payments   Late Charge   Interest Rate    Interest on UPB
9/1/2018                          $3,900.00 '    8             $0.00        18         $34,490.96
Unpaid Principal Balance:




Please be advised that this figure is subject to change due to escrow disbursements and advances. Please
contact this ~e, to verify that these figures have not changed. Upon Payment California TD Specialists
will recor       'of econveyance.
                                                          LENDER AGRJ:,~S WITH THE Ai.MOUNT ABOVE
                                                                          y,,v.,,.
                                                              ,. //·1 ,/...,,, c:/ .t--L? /.l   'c.
                                                                       "'/A YKEM, LLC             --




                                              T                                                        17121~
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         EXHIBIT “E”
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Stanley Mosk Courthouse, Department 45

19STCV45132                                                                      January 16, 2020
FR LLC vs LEV INVESTMENTS, LLC, et al.                                                   2:46 PM


Judge: Honorable Mel Red Recana                   CSR: None
Judicial Assistant: J. Marquez                    ERM: None
Courtroom Assistant: J. Baltazar                  Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Ruling on Notice of Related Cases

The Court finds that the following cases, 19STCV38222 and 19STCV45132, are related within
the meaning of California Rules of Court, rule 3.300(a). 19STCV38222 is the lead case. For
good cause shown, said cases are assigned to Judge Mel Red Recana in Department 45 at Stanley
Mosk Courthouse for all purposes.

All hearings in cases other than the lead case are placed off calendar. This order is made without
prejudice to the parties making a motion to consolidate in the newly assigned department. The
moving party is ordered to serve notice of this order (including hearings vacated, if necessary) by
mail forthwith on all interested parties within ten (10) days of the receipt of this minute order.

Certificate of Mailing is attached.




                                          Minute Order                                 Page 1 of 1
Case 1:20-bk-11006-VK          Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07               Desc
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Stanley Mosk Courthouse, Department 45

19STCV38222                                                                      January 16, 2020
MARIYA AYZENBERG vs LEV INVESTMENTS, LLC, et al.                                         2:46 PM


Judge: Honorable Mel Red Recana                   CSR: None
Judicial Assistant: J. Marquez                    ERM: None
Courtroom Assistant: J. Baltazar                  Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Ruling on Notice of Related Cases

The Court finds that the following cases, 19STCV38222 and 19STCV45132, are related within
the meaning of California Rules of Court, rule 3.300(a). 19STCV38222 is the lead case. For
good cause shown, said cases are assigned to Judge Mel Red Recana in Department 45 at Stanley
Mosk Courthouse for all purposes.

All hearings in cases other than the lead case are advanced and taken off calendar. This order is
made without prejudice to the parties making a motion to consolidate in the newly assigned
department. The moving party is ordered to serve notice of this order (including hearings
vacated, if necessary) by mail forthwith on all interested parties within ten (10) days of the
receipt of this minute order.

Certificate of Mailing is attached.




                                          Minute Order                                 Page 1 of 1
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         EXHIBIT “F”
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                                                       of352
                                                          67




        JOHN G. BURGE£, ESQ. (State Bar No. 132129)

    2
        jburgee@bandalaw.net
        BURGEE & ABRAMOFF P.C.
        2050 l Ventura Boulevard, Suite 262
                                                                               FILED
                                                                        Superior Court of California
    3   Woodland Hills, California 91364                                   County of Riverside
        (818) 264-7575
    4                                                                              1/8/2020
        Attorneys for Plaintiffs GA&TV, INC. and
    5   COACHELLA VINEY ARD LUXURY RV PARK, LLC                                    M. Allen
                                                                             Electronically Filed
    6

    7

    8                       SUPERIOR COURT OF THE STA TE OF CALIFORNIA

    9                                 FOR THE COUNTY OF RIVERSIDE

   10                                      PALM SPRINGS COURTHOUSE

   11

   12   COACHELLA VINEY ARD LUXURY RV )                   CASE NO.       PSC2000222
        PARK, LLC,                       )
   13                                    )                VERIFIED COMPLAINT FOR DAMAGES
                           Plaintiff,    )                AND EQUITABLE RELIEF:
   14                                    )
              vs.                        )                l.   Q UfET TITLE
   15                                    )                2.   CANCELLATION OF INSTRUMENTS
        LEV INVESTMENTS, LLC, DMITRI     )                3.   WRONGFUL FORECLOSURE
   16   LIOUDKOVSKI, REAL PROPERTY       )                4.   SLANDER OF TITLE
        TRUSTEE, INC., and DOES l to 20, )                5.   DECLARATORY AND INJUNCTIVE
   17                                    )                         RELIEF
                           Defendants.   )
   18                                                 )
        ______________)
   19

   20          PlaintiffCOACHELLA VINEYARD LUXURY RV PARK, LLC alleges as follows:

   21                                               PARTIES

   22          1.      Plaintiff COACHELLA VINEYARD LUXURY RV PARK, LLC ("RV") is, and

   23   was at all times material hereto, a limited liability company organized and existing under the

   24   laws of the State of California.

   25          2.      Defendants LEV INVESTMENTS, LLC ("LEV") is, and wa'l at all times material

   26   hereto, a limited liability company organized and existing under the laws of the State of

   27   California.

   28   II


                                                  COMPLAINT
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                                                     46 of 352
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      JOHN G. BURGEE, ESQ. (State Bar No. 132129)
      j burgee@bandalaw.net                                                            FILED
                                                                               Superior Court of California
  2   BURGEE & ABRAMOFF P.C.                                                      County of Riverside
      20501 Ventura Boulevard, Suite 262
  3   Woodland Hills, California 91364                                                 10/4/2019
      (818) 264- 7575                                                                   P. -Hills
                                                                                   Electronically Fi led
  4
      Attorneys for Plaintiffs GA&TV , INC. and
  5   COACHELLA VINEY ARD LUXURY RV PARK, LLC

  6

  7
  8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

  9                                   FOR THE COUNTY OF RIVERSIDE

 10                                          HISTORIC COURTHOUSE

 11
 12

 13   GA&TV INC. and COACHELLA                      )    CASE NO.      RIC1905065
      VINEYARD LUXURY RV, LLC,                      }
 14                                                 )    VERIFIED COMPLAINT FOR DAMAGES
                               Plaintiff,           )    AND EQUITABLE RELIEF:
 15                                                 )
             VS.                                    )    1.   BREACH OF CONTRACT
 16                                                 )    2.   SPECIFIC PERFORMANCE
      LEV INVESTMENTS, LLC, LOJ                     )    3.   BREACH OF WARRANTY [CC§ 1113]
 17   VENTURESLLC, DMITRJ                           )    4.   FRAUD AND CONCEALMENT
      LIOUDKOVSKI, REAL PROPERTY                    )    5.   NEGLIGENT MISREPRESENTATION
 18   TRUSTEE INC., and DOES 1 to 20,               ),   6.   QUIET TITLE
                                                    )    7.   CANCELLATION OF INSTRUMENTS
 19                            Defendants.          )    8.   DECLARATORY AND INJUNCTIVE
                                                    )            RELIEF
 20

 21          Plaintiffs GA&TV INC. and COACHELLA VINEY ARD LUXURY RV . LLC allege as

 22   follows:

 23                                                PARTIES

 24           1.     Plaintiff GA&TV INC. ("GA&TV'') is, and was at all rimes material hereto a

 25   corporation organized and ex.isting under the laws of the State of California.

 26          2.      Plaintiff COACHELLA VINEYARD LUXURY RV LLC ("RV") is, and was at

 27   all times material hereto, a limited liability company organized and existing under the laws of the

 28   State of California.


                                                 COMPLAINT
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        EXHIBIT “G”
Case 1:20-bk-11006-VK                     Doc 56 Filed 06/26/20 Entered 06/26/20 23:47:07          Desc
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From: David B. Golubchik <DBG@lnbyb.com>
Sent: Tuesday, September 18, 2018 1:56 PM
To: Koko <koko@koloeinc.com>
Cc: Gina Lisitsa <gina@lisitsalaw.com>
Subject: RE: MEET ONE ANOTHER

Nice meeting you, Gina.

Koko, crazy story. Although I think I heard before that you and Lev used to hang out together at
Carousel

DAVID B. GOLUBCHIK, Esq.
LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
10250 Constellation Blvd. | Suite 1700 | Los Angeles, CA 90067
Phone 310 229 1234 | Direct 310 229 3393 | Fax 310 229 1244
dbg@lnbyb.com | www.lnbyb.com

The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Brill L.L.P.'s
email policies which can be found at http://www.lnbyb.com/disclaimers.htm.


 Please consider the environment before printing this email

From: Koko [mailto:koko@koloeinc.com]
Sent: Tuesday, September 18, 2018 1:34 PM
To: David B. Golubchik <DBG@lnbyb.com>
Cc: gina@lisitsalaw.com
Subject: MEET ONE ANOTHER

Hi David-

Thank you for taking the call. I appreciate you investing the time to speaking to us.

Please meet one another and save each other’s contact information. Let’s stay in touch to see how we
can get you and your firm involved if this evolves further.




CHECK THIS ARTICLE OUT �
https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-
polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5


Thank you and sincerely,


STANDARD HOME LENDING, INC.
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Koko Polosajian
Broker
13223 Ventura Blvd
Suite G
Studio City, CA 91604
kpolosajian@mrmortgage.com
818.379.9585 ph
310.350.0306 mobile
818.379.9586 fax
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        EXHIBIT “H”
6/26/2020   Case
               You1:20-bk-11006-VK              DocFuel
                   Can’t Make This Shit Up: A $511M 56Tax Credit
                                                          FiledFraud
                                                                 06/26/20
                                                                     Indictment inEntered    06/26/20
                                                                                   Utah Connects          23:47:07
                                                                                                 a Polygamous Mormon CultDesc
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      You Can’t Make This Shit Up: A $511M Fuel Tax
      Credit Fraud Indictment in Utah Connects a
      Polygamous Mormon Cult to Mike Flynn,
      TrumpRussia, and Transnational Organized Crime
                  K. Louise Neufeld Follow
                  Aug 26, 2018 · 10 min read


      The Kingston Group in Utah is in bed with the Russian/Armenian
      mob. They do business together in Turkey and connect to the
      Special Counsel’s investigation into the 2016 election and other
      investigations.
      Note: This piece was written with the help of crowdsourced research by these Tweeters:
      @stephaniefishm4 @brazencapital @peaceful_411 @agenthades1 and @thomass4217.

      On August 24, 2018, the United States Department of Justice announced a federal
      indictment had been unsealed. Three men were charged with a $511,000,000 tax credit
      fraud scheme involving biofuels. Jacob Kingston, Isaiah Kingston, and Lev Aslan Dermen
      (aka Levon Termendzhyan) were charged in the District of Utah. The indictment was
      filed August 1, 2018, and ordered sealed.

       “[The men]allegedly schemed to file false claims for renewable fuel tax credits, which caused
       the IRS to issue over $511 million to WRE…From 2010 through 2016, as part of their fraud
       to obtain the fuel tax credits, the defendants allegedly created false production records and
       other paperwork routinely created in qualifying renewable fuel transactions along with
       other false documents. To make it falsely appear that qualifying fuel transactions were
       occurring, the defendants rotated products through places in the United States and through
       at least one foreign country.”

      Note: the indictment mentions Panama. In addition to the tax credit scam, the

https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   1/10
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       “indictment further charges that the defendants laundered part of the scheme proceeds
       through a series of financial transactions related to the purchase of a $3 million personal
       residence for Jacob Kingston. Jacob and Isaiah Kingston are separately alleged to have
       laundered approximately $1.72 million in scheme proceeds to purchase a 2010 Bugatti
       Veyron. Jacob Kingston and Lev Aslan Dermen are separately charged with money
       laundering related to an $11.2 million loan funded by scheme proceeds.”




                                                              source: PACER.gov


      Jacob Kingston is the CEO of Washakie Renewable Energy, and Isaiah Kingston is the
      CFO. The Kingstons are sons of John Daniel Kingston, the partiarch of the Kingston
      Group, “a Utah-based polygamous church with fundamentalist Mormon beliefs.”
      Journalist Jesse Hyde wrote about the group in his brilliant article “Inside ‘The Order,’
      One Mormon Cult’s Secret Empire,” published June 15, 2011, in Rolling Stone. The
      Southern Poverty Law Center declared the Kingston Group a hate group in their August
      8, 2017 expose, “Blood Cult.” The Salt Lake Tribune’s Nate Carlisle reported August 4,
      2018, “Girls in polygamous Kingston Group continue to marry as young as 15,
https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   2/10
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      records show, sometimes leaving Utah to marry cousins.” All three articles are
      essential reading to get a sense of who the Kingston group really is-and the scope of their
      crimes and abuses.

      According to the federal indictment dated August 1, 2018 (available on PACER), Lev
      Aslan Dermen aka Levon Termendzhyan, is a California resident who controls

       “several fuel-related companies in the United States, including Noil Energy Group, a
       corporation with offices in California. SBK Holdings, Inc., later SBK Holdings USA, Inc.,
       was a corporation formed in California in December 2013 initially owned by Defendants
       Jacob Ortell Kingston and Lev Aslan Dermen, a/k/a Levon Termendzhyan.”

      On September 29, 2017, Isaac Arnsdorf of ProPublica published a brilliant piece of
      journalism, “Robert Mueller Subpoenas an Associate of the Man Who Hired
      Michael Flynn as a Lobbyist,” about Sezgin Baran Korkmaz, who is a “close ally of Ekim
      Alptekin, the 40-year-old Turkish businessman who hired Flynn to lobby for Turkish interests
      shortly before the election.” In the article, Arnsdorf writes Termendzhyn’s SBK Holdings
      USA is “the U.S. sister company” of Sezgin Baran Korkmaz’s Turkish company, SBK
      Holding. SBK Holding

       “has “major investments” in the Russian energy sector, a September 2016 announcementby
       a Turkish government agency said. The company’s website shows operations in Russia but
       doesn’t specify what they are.”

      On October 5, 2017, The Real Deal reported former SBK Holdings USA’s President and
      Legal Counsel, Edgar Sargosyan had stated in a legal declaration that Termendzhyan
      was “under investigation by the Department of Homeland Security for money
      laundering, tax evasion and stolen petroleum.” I found several other companies
      connected to Termendzhyan (see charts below), and he and his family members appear
      in the Offshore Leaks Database.




https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   3/10
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                                                     source: www.corporationwiki.com



      Things Get Crazier, Because We are Witnessing the Unravelling of
      Decades of Transnational Organized Crime
      Edgar Sargsyan, who is the ex-President and ex-Legal Counsel for SBK Holdings USA,
      stated in his declaration filed in court on July 14, 2017:

       “On information and belief, I have learned from conversations with law enforcement that
       Levon Termendzhyan is the head of a criminal organization, and is the person referred to as
       “co-conspirator 1” in FBI Special Agent Brian Adkins’ affidavit. Attached herto as Exhibit G
       is a true and correct copy of this affidavit filed in the case United States of America v. Felix
       Cisneros, Case №17MJ00620.”

      Felix Cisneros is a former ICE agent who was convicted on April 24, 2018, of criminal
      charges related to helping a Mexican national enter the United States. Cisneros was
      arrested on March 23, 2017 and in the affidavit of Brian Adkins (see Exhibit G), footnote
      2 states,

       “‘Co-Conspirator 1’” refers to an unindicted co-conspirator who, as described more fully
       below, directed Cisneros to aid and assist the CHS (Confidential Human Source) in illicitly
       entering the United States on September 7, 2013, despite being inadmissible at the time
       under 8 USC 1182.”

      Adkins’ affidavit further states,

       “During the CHS (Confidential Human Source) Interviews, the CHS informed me that the
       CHS was working in the oil and gas industry in 2013, and that, at the time, Co-Conspirator
       1 was negotiating an oil and gas deal in Mexico involving several individuals and
       companies. The CHS was assisting Co-Conspirator 1 in negotiating that deal, which
       included travel to Mexico to engage in negotiations…I have spoken with the FBI Supervisory
       Special Agent for the FBI’s Transnational Organized Crime-Eastern Hemisphere squad, who
       informed me that, based on his squad’s investigations, the FBI believes that Co-Conspirator
       1 holds a leadership role with a criminal organization located in Southern California, and
       has held this role since at least 2013.”


https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   4/10
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      If Edward Sargsyan’s declaration is correct and Levon Termendzhyan is indeed Co-
      Conspirator 1 in Special Agent Brian Adkins’ affidavit, then Termenzhyan is potentially
      in trouble for bribery and obstruction of justice. And so are a “local politician” and a
      “state prosecution agency.” Remember- I’m not a lawyer-but I can read, and the Summary
      of Probable Cause, particularly Paragraph 6C, is a shocker:




                                       source: Complaint led 3/21/17, available on PACER.gov



      A (Brief) Timeline of Treason: How this connects to Trump-Russia
      and Mueller’s investigation




https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   5/10
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            Note the jacket on the left in the photo (hat tip @jbadomics on Twitter for pointing it out). Now does
                       #AbolishICE as a provocation tactic make sense in the grand scheme of things?


        1. February 10, 2016: Several of the Kingston’s properties were raided by the FBI on
             February 10, 2016, and on February 13, 2016, a former employee explained aspects
             of the Kingstons’ fuel tax scam to KUTV in Utah.

        2. August 2016: Alptekin’s Dutch consulting company Inovo BV hired Mike Flynn’s
             Flynn Intel Group to do opposition research on Fethullah Gulen, a Turkish cleric who
             lives in Pennsylvania, and who Turkish President Erdogan blames for a “coup
             attempt” in July 2016.

        3. August 18, 2016: Ex-CIA Director James Woolsey’s wife, Nancy Miller emailed
             Woolsey a proposal which Woolsey printed out and showed to Korkmaz, who
             forwarded it to Alptekin.

        4. Sometime in August 2016, but likely after the proposal was emailed: Woolsey
             proposed a $10,000,000 project to Korkmaz at a meeting in California. The project
             was “ a lobbying and public relations campaign targeting Fethullah Gulen.”

https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   6/10
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        5. September 9, 2016: The government of Turkey issued a press release: “$950M Cash
            Flow Slated to Arrive in Total Future Investments: Noil Energy Group Inc., US-
            Based Washakie Renewable Energy and SBK Holding LLC are Set to Start a $450M
            Equity Fund.” The press release states that Noil Energy Group’s “collaboration with
            SBK Holding Inc. was kick-started in 2013…Total investments made since 2013 in
            collaboration with and under the management of SBK Holding Inc. have reached
            $500 million…NEG has established a new $450 million equity fund for the new
            investments it is poised to flow into Turkey until the end of 2016. On top of this equity
            fund, NEG has established a $500 million recovery fund to leverage M&A operations in
            Turkey due to get well underway in 2 years.” [emphasis mine]

        6. September 19, 2016: Michael Flynn met with two Turkish Ministers regarding a
            proposal to kidnap Fetullah Gulen and send him to Turkey. The meeting was
            arranged by Alptekin.

        7. September 20, 2016: Woolsey & his wife had lunch in New York City with Alptekin &
            Korkmaz regarding their Gulen proposal.

        8. October 2016: The “American-Turkish Council, a group devoted to building up business
            connections between the two countries (and the conference’s other organizer), booked
            the Trump hotel in downtown DC, a short walk from the White House” for a May 2017
            conference.

        9. November 8, 2016: Election day. Flynn publishes an Op-Ed in The Hill about Gulen.

      10. February 13, 2017: Flynn resigns/is forced out as National Security Advisor.

      11. March 23, 2017: Former ICE Agent Felix Cisneros was arrested for helping a
            Mexican National enter the United States illegally. The Affidavit of FBI Special Agent
            Brian Adkins (see Exhibit G) states Cisneros was directed by “Co-Conspirator 1” to
            assist the Mexican National in entering the country.

      12. May 16–17, 2017: Erdogan visits Trump. Erdogan’s bodyguards beat up protestors
            on American soil.

      13. May 21–23, 2017: 36th Annual Conference on US-Turkey Relations at Trump hotel
            in Washington DC. Korkmaz and Alptekin both gave keynote speeches. Newt
            Gingrich spoke at a luncheon.
https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   7/10
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      14. May 2017: Alptekin was interviewed by Mueller’s team. After the interview,
            Mueller’s team sent Alptekin a subpoena, and told his lawyers they believed he was
            lying about the source of the money he paid to Flynn. As of October 6, 2017, he had
            still refused to comply with the subpoena. (Added to the timeline 12:30 PM EDT
            Sunday August 26, 2018; thank you Tweeter @RubyWorms for reminding me of the
            Alptekin subpoena after I initially published this story!)

      15. July 14, 2017: Edward Sargsyan files declaration stating Termendzhyan is “Co-
            Conspirator 1,” in FBI Special Agent Adkin’s Affidavit in the Felix Cisneros case,
            which says Co-Conspirator 1 is believed by FBI to be a leader of a criminal
            organization.

      16. September 22, 2017: per Arnsdorf’s reporting, this is the date that Sezgin Baran
            Korkmaz was to testify to a federal grand jury, per a subpoena ordering the
            testimony. The subpoena was sent with a letter “signed by Robert Mueller and Zainab
            Ahmad, a senior assistant special counsel who specializes in prosecuting terrorism.” The
            letter stated, “The grand jury is conducting an investigation of possible violations of
            federal criminal laws involving the Foreign Agents Registration Act [FARA], among
            other offenses.”

      17. December 1, 2017: Flynn pleaded guilty to lying to the FBI about his conversations
            with Sergey Lavrov. Additionally, per Politco’s Josh Gerstein, Matthew Nussbaum
            and Theodoric Meyer, “Flynn admitted to making “materially false statements and
            omissions” in his retroactive registration, including lying about the fact that the
            Turkish government officials were supervising and directing the work. He also
            misrepresented his lobbying work by stating that it was “focused on improving
            U.S. business organizations’ confidence regarding doing business in Turkey,” and
            lied about an op-ed he published in The Hill on Election Day in which he compared
            Gulen to Iran’s Ayatollah Khomeini. Flynn stated in the registration in March that he’d
            written the op-ed voluntarily and not on behalf of Turkey or anyone else.” [emphasis
            mine]

      18. April 24, 2018: Former ICE Agent Felix Cisneros convicted for illegally helping a
            Mexican National enter the United States.

      19. August 1, 2018: Indictment of Jacob Kingston, Isiaih Kingston, and Levon
            Termendzhyan for $511,000,000 tax credit fraud scheme and money laundering, is
https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   8/10
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            filed in federal court, and sealed.

      20. August 24, 2018: Indictment of the Kingston brothers and Termendzhyn is
            announced by the Department of Justice. The connections of this polygamous cult to
            the Mueller investigation, associates of Mike Flynn, and Transnational Organized
            Crime, are not mentioned in the DoJ’s press release, or in any of the mainstream
            media articles about the indictment.

      Additional Rabbit Holes
      As with all people and companies connected to the Trump-Russia-Transnational
      Organized Crime nexus of corruption, there are other rabbit holes that I haven’t had
      time to dig into. I’ll list some of them here.

        1. The current CEO of Termendzhyan’s Viscon International, Inc., and former COO of
            Noil Energy Group from 2007–2014, is Daniel McDyre. He’s Richard Nixon’s former
            Presidential pilot.

        2. Levon Termendzhyan has a joint venture with a Native American tribe in Yakima,
            Washington via First American Petroleum. Given recent “rent-a-tribe” payday
            lending scandals, and Termendzhyn’s apparent connections to organized crime, this
            is worth investigating further.

        3. Levon Termendzhyan was arrested in 1993 for a gas tax scam. In the article, his
            name is spelled Termendjian. His brother Grigor was also arrested. The Russian
            mafia and the Italian Mafia were actively involved in gas tax scams in the 1980s-
            1990s.

        4. According to Levon Termendzhyan’s blog, he owns a Fixed Base Operation (FBO).
            “FBOs provide various services to private jet pilots at established airports. Most of these
            entities are run by commercial companies and typically offer self-pump or full-service
            fueling options.” Private jets + organized crime makes me wonder if Termendzhyn
            has any connection to Jetsmarter.

        5. There are a lot of names and companies listed on a civil suit brought by SBK
            Holdings USA, Inc. The Termendzhyans have several trademarks. These all need to
            be explored.


https://medium.com/@ninaandtito/a-511m-fuel-tax-credit-fraud-indictment-in-utah-connects-a-polygamous-mormon-cult-to-mike-flynn-402e1f7a0fb5   9/10
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      There’s much more to dig into, but that’s enough for now.



        Mike Flynn         Mueller        Kingston Cult         Levon Termendzhyan            Sbk Holding




                                                                                                                   About Help Legal

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          EXHIBIT “I”
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       5
             Attorneys for Defendants
       6     Dmitri Lioudkovski and LOI Ventures, LLC
       7

       8                                    UNITED ST ATES BANKRUPTCY COURT

       9                                     CENTRAL DISTRICT OF CALIFORNIA

      10                                      SAN FERNANDO VALLEY DIVISION

      ll     In re                                                Case No.: I: I 8-bk-10828-MT
      12     NAZARET KECHEJIAN,                                   Adv. No.: 1:18-ap-01101-MT
      13                      Debtor.                             (Chapter 13)
      1.:1                                                        G&B LAW LLP'S NOTICE OF MOTION


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 ')
      16     NAZARET KECHEJIAN,
                                                                  AND MOTION TO WITHDRAW AS
                                                                  COUNSEL FOR DEFENDANTS DMITRI
                                                                  LIOUDKOVSKI AND LDI VENTURES,
                                                                  LLC; MEMORANDUM OF POINTS AND
                                                                  AUTHORITIES; DECLARATION OF
      17                      Plaintiff,                          JAMES R. FELTON IN SUPPORT
                                                                  THEREOF
      18     V.
                                                                  Date:          No hearing date required
      19     GREG MKRCHYAN; an individual, aka GARIK              Time:          [Per LBR 9013-l(p)(4)]
             MKRCHYAN, aka GHEGHAM TER-                           Ctrm:          302
      20     MIKRTCHYAN; KIRILL KIZYUK, an                                       21041 Burbank Blvd.
             individual, PRIME CAPITAL GROUP, INC., a                            Woodland Hills, CA 91367
      21     California Corporation; MKRTCHYAN
             INVESTMENTS, L.P., a California Limited
      22     Partnership; ARTHUR AR1STAKESYAN, an
             individual; PHANTOM PROPERTIES, LLC, a
      23     Nevada limited liability company; DMITRI
             LIOUDKOVSKI, an individual; ANDREI
      24     LUDKOVSKY, an individual; LOI VENTURES,
             LLC, a California limited liability company,
      25
                              Defendants.
      26

      27

      28     Ill


                                                MOTION TO WITHDRAW AS COUNSEL
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                      TO THE HONORABLE MAUREEN A. TIGHE, DEBTOR, THE UNITED STATES

        2    TRUSTEE, AND ALL PARTIES/COUNSEL ENTITLED TO RECEIVE NOTICE:

        3             PLEASE TAKE NOTICE THAT G&B Law LLP ("G&B"), attorneys of record for Dmitri

        4    Lioudkovski and LDI Ventures, LLC, who are Defendants ("herein "Defendants"), shall move this

         5   Court (the "Motion") for an order permitting G&B to withdraw as Defendants' attorneys of record

        6    in the above-captioned adversary proceedings, Adv. Proc. No. 1:18-ap-01101-MT.

        7             This Motion is made pursuant to Local Bankruptcy Rules ("LBR") 2091-1 (a) and 9013-

         8   1(p)(4) on the grounds that there has been a breakdown in the attorney-client relationship. Pursuant

        9    to California Rules of Professional Conduct, Rule l. l 6(b), a state bar member may withdraw from

        10   representation if, among other things: ( 1) the client by his/her/its conduct renders it unreasonably

        11   difficult for the lawyer to carry out the representation effectively; or (2) the client breaches a

        12   material term of an agreement with, or obligation to, the lawyer relating to the representation.

        13            This Motion is based upon this Notice and the attached Memorandum of Points &


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        16
             Authorities, the Declaration of James R. Felton attached hereto, and upon further notice or argument

             as may be required by the Court, so that an Order based hereon may be duly entered by the Court.

                      PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-l(h),

        17   the Court may deem the failure of a party in interest to file a timely response to the Motion to

        18   constitute consent to the granting by the Court of the relief requested in the Motion.

        19   DATED: June 26, 2020                           G&BLAW,LLP

        20

        21                                                  By:
                                                                  --:1~~~~w----
        22                                                            YI S
                                                                      Attom s for Defendants
        23                                                            Dmitn ..ioudkovski and LOI Ventures. LLC

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                                       MEMORANDUM OF POINTS AND AUTHORITIES

         2                                                         I.
         3                                 INTRODUCTION/STATEMENT OF FACTS

         4              By this Motion, G&B seeks to withdraw as counsel of record for Dmitri Lioudkovski and

          s LOI Ventures, LLC ("Defendants"). G&B represents Defendants as Defendants in the adversary
         6    action.
         7              ln connection with Defendants employment of G&B, both parties entered into a written

          8   retainer agreement (the "Agreement") setting forth the terms of such employment. The Agreement

         9    provided that G&B has the right to withdraw as counsel under certain circumstances. Specifically,

         10   paragraph 7 of the Agreement provides:

         11             If at any time during the course of the Firm's representation any portion of your
                        outstanding balance is more than sixty (60) days in arrears or if you otherwise fail to
         12             fulfill any of your obligations under this Letter Agreement, you hereby agree that the
                        Firm shall have the absolute right to substitute out as your attorney of record or to
         13



I;
                        otherwise withdraw from representing you in connection with this matter. You
         14             hereby agree to sign whatever documents and to perform whatever other acts may be
                        necessary or appropriate, in the Firm's sole discretion, to effectuate such substitution
 _g
 cc      15             or withdrawal, including a form Substitution of Attorney.
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 (.'.)

         16             Significant differences have arisen between Defendants and G&B including, but not limited
         17   to, non-payment of legal fees and costs. Other than reference to the current amount owed, details of
         18   those differences cannot be revealed in this Motion out of concern that such disclosure would violate
         19   the attorney-client privilege as provided under both state and federal law.
         20             Given these facts, it makes it impossible for G&B to continue with the representation of the
         21   Defendants under these circumstances.
         22             G&B has never previously filed a motion to withdraw as counsel.
         23             The following matters are scheduled for this matter:
         24             The next scheduled dead\ines in this matter are as follows:
         25             1.      6/30/20: LID to Exchange List of Proposed Mediators
         26             2.       8/ 14/20: Mediation Completion Date and LID for Dispositive Motions to be Filed
         27                      9/16/20: Deadline for Pretrial Stipulation
                        3.
         28             4.       9/30/20- Pretrial Conference.

                                                  MOTION TO WlTHDRA WAS COUNSEL
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       Case 1:18-ap-01101-MT
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                    G&B believes that Defendants will not be prejudiced by G&B's withdrawal of its

       2    representation at this time.
       3                                                      a
       4    THE COURT MAY PERMIT G&B TO WITHDRAW FROM THE THESE PROCEEDINGS

       5            LBR 2091-l(a) provides in pertinent part that leave of court is required for an "attorney who

       6    has appeared on behalf of an entity in any matter concerning the administration of the case, in one or

       7    more proceedings, or both, to withdraw as counsel . . ."         Such leave may be granted by the

       8    Bankruptcy Court, so long as withdrawal is consistent with the California Rules of Professional

       9    Conduct.     Value Property Trust v. Zim Co. (IN re Mortgage Realty Trust), 195 B.R. 740, 747

       10   (Bankr. C.D. Cal. 1996) (stating that the applicable professional conduct standards for attorneys

       11   practicing in the Bankruptcy Court for the Central District of California are provided by the rules of

       12   professional conduct promulgated by the California state bar). Moreover, withdrawal is permitted

       13   when it will impose no undue prejudice on the client's interests regardless of the existence of good




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            cause. Ramirez v. Sturdevant, 21 Cal. App. 4th 904, 915 (1994) ("We see no basis in law or logic,

            for a conclusion that an attorney never may withdraw from a case except for cause").
                    According to California Rules of Professional Conduct, Rule l. l 6(b), a state bar member

       17   may withdraw from representation if, among other things: (1) the client by his/her/its conduct

       18   renders it W1Teasonably difficult for the lawyer to carry out the representation effectively; or (2) the

       19   client breaches a material term of an agreement with, or obligation to, the lawyer relating to the

       20   representation.
       21           Good cause exists for G&B to withdraw based upon material breakdowns in the attorney-

       22   client relationship that may not be discussed here without potentially violating the attorney-client

       23   privilege.

       24   ///

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                                                     III.

2                                             CONCLUSION

3           Based upon the foregoing, G&B requests the Court to issue an order which permits G&B to

4    withdraw as attorneys of record for the Defendants in the adversary proceeding.

5    DATED: June 26, 2020                         G&B LAW,LLP

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7                                                 By :---=--:-::-=::-'c:r.11t-===-:=-::-:------
                                                        JAMES        FELTON
8                                                       YI SUN M
                                                        Attorne     or Defendants
9                                                       Dmitri      udkovski and LD I Ventures. LLC

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                                     MOTION TO WITHDRAW AS COUNSEL
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                                           DECLARATION OF JAMES R. FELTON

       2             I, JAMES R. FELTON, declare as follows:

       3             1.       I am the managing partner at the law firm of G&B Law, a Registered Limited

       4    Liability Partnership ("G&B"). I am an attorney at law licensed to practice before all of the Courts

       5    of the State of California and before the United States District Court, Central District of California.

       6    If called as a witness in this action, I am competent to testify of my own personal knowledge, to the
       7    best of my recollection, as to the matters set forth in this Declaration.

       8            2.        As of the filing of this Motion, Defendants currently owe a receivable in this matter.

       9            3.        In connection with the Defendants employment of G&B, both parties entered into a

       10   written retainer agreement (the "Agreement») setting forth the terms of such employment. The

       1t   Agreement provided that G&B had the right to withdraw as counsel under certain circumstances.

       12   Specifically, the Agreement provides:

       13           If at any time during the course of the Finn's representation any portion of your
                    outstanding balance is more than sixty (60) days in arrears or if you otherwise fail to



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       14           fulfill any of your obligations under this Letter Agreement, you hereby agree that the
 £ 15               Finn shall have the absolute right to substitute out as your attorney of record or to
 "'
 "6                 otherwise withdraw from representing you in connection with this matter. You
 0
       16           hereby agree to sign whatever documents and to perform whatever other acts may be
                    necessary or appropriate, in the Firm's sole discretion, to effectuate such substitution
       17           or withdrawal, including a form Substitution of Attorney.

       18           4.        I do not believe that Defendants will be unduly prejudiced if this Motion is granted.
       19   Defendants have been fully apprised of all pending issues and hearings.
      20             I declare under penalty of perjury under the laws of the United States of America that the
      21    foregoing is true and correct, and that this declaration is executed on June 26, 2020 in Encino,
      22
            California.                                                                           ,

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                                             DECLARATION OF JAMES R. FELTON, ESQ.
            1913644.1-32417.0003
